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 UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLUMBIA

 United States of America              *
                                       *
              v.                       *
                                       *            Case No.: 21-CR-00028-APM
 Thomas Edward Caldwell, et. al.       *
                Defendants             *

    DEFENDANT CALDWELL’S MEMORANDUM IN SUPPORT OF HIS
         EMERGENCY MOTION FOR EXPEDITED HEARING
                  AND BRIEFING SCHEDULE

      Comes now Thomas Edward Caldwell (“Caldwell”), by counsel, and moves

this Honorable Court to consider his Emergency Motion for Expedited Hearing and

Briefing Schedule with respect to his Motion to Review the Magistrate’s Detention

Order Pursuant to 18 U.S.C. §3145(b) and Motion for Release. In support of said

motion, Caldwell states as follows.

      1.     On February 8, 2021, Caldwell filed his Motion to Review the

Magistrate’s Detention Order Pursuant to 18 U.S.C. §3145(b) and Motion for

Release.

      2.     Caldwell has been in the custody of the U.S. Marshall Service in

Orange, Virginia since January 19, 2021, after he was ordered detained at a hearing

before Magistrate Joel Hoppe in Harrisonburg, Virginia in the Western District of

Virginia. At that hearing he was not represented by counsel though the Court

appointed the Federal Defender to advise him. He was also informed that he would

have a preliminary hearing in the District of Columbia. However, he was never
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transported to the District of Columbia and the Government obtained an indictment,

thereby extinguishing his right to a preliminary hearing.

      3.     Caldwell has at all times maintained his innocence with regard to all

charges and the Government has not provided any evidence to support the

indictment that has ever been subject to cross-examination.

      4.     Caldwell has significant medical issues that are best treated upon

release. Currently, the medical staff in Orange, Virginia is not providing certain

medicine that was prescribed by Caldwell’s physician because the doctor at the

Central Virginia Correctional Facility does not agree with Caldwell’s doctor’s

diagnosis or treatment.

      5.     Caldwell is entitled to release pending trial and the review of the

detention hearing should not be delayed as he has already been in custody for 20

days. Given his already extensive incarceration and his medical condition,

Caldwell’s Motion for Detention Review should be heard on an expedited basis.

      6.     Caldwell suggests that the Government file its responsive brief to his

Motion on February 9, 2012, his reply, if any, be filed February 10, 2021, the matter

be set for hearing on February 11, 2021.

      Wherefore, for the reasons stated above, Caldwell moves this Court to grant

his Emergency Motion for an Expedited Hearing and Briefing Schedule and grant

the Briefing Schedule as set forth.


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                                 Respectfully submitted by,

                                 Thomas Edward Caldwell
                                 By Counsel




/S/_________________________________
Thomas K. Plofchan, JR., DC Bar#VA100
Westlake Legal Group
46175 Westlake Drive, #320
Potomac Falls, Va 20165
Tel.: 703-406-7616
Fax: 703-444-9498
E-mail: tplofchan@westlakelegal.com
Counsel for Defendant Thomas Edward Caldwell


                           CERTIFICATE OF SERVICE

      I certify that on this 9th day of February, 2021, I electronically filed the
foregoing Memorandum In Support of His Emergency Motion for Expedited
Hearing and Briefing Schedule using the CM/ECF System, which will send
notice of such filing to the following registered CM/ECF users:

      Kathryn Leigh Rakoczy at kathryn.rakoczy@usdoj.gov


                                             /S/
                                 Thomas K. Plofchan, Jr., Esq.




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